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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §             CRIMINAL NO. 6:04-CR-74-012
                                                   §
 ANTHONY RAY MCMORRIS                              §


                             REPORT & RECOMMENDATION OF
                            UNITED STATES MAGISTRATE JUDGE

         On January 11, 2007, the Court conducted a hearing to consider the government’s petition

 to revoke the supervised release of Defendant, Anthony Ray McMorris. The government was

 represented by Allen Hurst, Assistant United States Attorney for the Eastern District of Texas, and

 Defendant was represented by court-appointed counsel, Ken Hawk.

         Defendant originally pleaded guilty to the offense of Possession with Intent to Distribute and

 Distribution of Cocaine, a Class C felony. The offense carried a statutory maximum imprisonment

 term of 20 years. The United States Sentencing Guideline range, based on a total offense level of

 13 and a criminal history category of I, was 12 to 18 months. On November 29, 2005, U.S. District

 Judge Michael H. Schneider sentenced Defendant to 12 months and 1 day imprisonment followed

 by a term of three years supervised release, subject to the standard conditions of release, plus special

 conditions to include drug aftercare and financial disclosure. On December 31, 2005, Defendant

 completed the term of imprisonment and began the term of supervised release.

         Under the terms of supervised release, Defendant was prohibited, in relevant part, from:

 committing another federal, state or local crime. In its petition, the government alleges that

 Defendant violated his term of supervised release by being convicted of a misdemeanor state offense,

 Possession of Marijuana.
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        If the Court finds by a preponderance of the evidence that Defendant committed this

 violation, a statutory sentence of no more than two years of imprisonment may be imposed. 18

 U.S.C. § 3583(e)(3). Pursuant to Section 7B1.1(a) of the Sentencing Guidelines, violating a

 condition of supervision by committing a state offense of Possession of Marijuana would constitute

 a Grade C violation, for which the Court shall revoke Defendant’s term of supervised release in favor

 of a term of imprisonment, or extend the term of probation or supervised release and/or modify the

 conditions of supervised release. U.S.S.G. § 7B3.1(a)(1). Considering Defendant’s criminal history

 category of I, the Guideline imprisonment range for a Class C violation is 3 to 9 months. U.S.S.G.

 § 7B1.4(a).

        At the hearing, the parties indicated they had come to an agreement to resolve the petition

 whereby Defendant would plead true to violating a condition of supervision of not committing

 another crime. In exchange, the government agreed to recommend that Defendant serve 90-days in

 prison, with no supervised release to follow.

        Pursuant to the Sentencing Reform Act of 1984, and the agreement of the parties, the Court

 RECOMMENDS that Defendant, Anthony Ray McMorris, be committed to the custody of the

 Bureau of Prisons for a term of imprisonment of 90 days, with no supervised release to follow. The

                   . their right to object to the findings of the Magistrate Judge in this matter so the
 parties have waived

 Court will present this Report and Recommendation to Judge Schneider for adoption immediately

 upon issuance.


                   So ORDERED and SIGNED this 16th day of January, 2007.




                                                   ___________________________________
                                                              JOHN D. LOVE
                                                   UNITED STATES MAGISTRATE JUDGE
